 

Gmail

univ copy <univcopy@gmail.com>

 

please print 7 copies of attachments

1. message

 

Megan Hayes <mihayes@wyoming. com>
To: univcopy@gmail.com

Dear Mr. Obranovich,

Tue, Apr 17, 2018 at 3:28 PM

Would you please print 7 copies total of the attached document? The first page (with the case caption/heading) should
be printed directly onto gray card stock paper and the documents should be bound with a spiral binding. Single-sided,

black/white, regular size paper. A gray card stock backing would be great also.

Please cail or email when these documents are ready to be picked up or if you have any questions.

Regards,

Megan Hayes

QANZITBNA BIE

UNIVERSITY-

 

428 Front Street

Santa Cruz, CA 95060

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

COPY SERVICE. ‘Sse
| Description | Originals | Quantity | Quantky | Cos Amount
lprmis | 23 | 7 |lor | ve | sw
|Diwn D L > lys5 | BGS

2683
> 35
APTS Pe THANK YOU 2392.

 

 

Wines las _ benty jre€ “Total Amount Due’

Batch # 453
- 04/18/48

AMOUNT

University’ Copy Service —
428 D front Street
Santa Cruz CA, 95060

04/18/2018 11:32AM 01

000000#1532 Tomo
DEPT. 61 11 $28. 92
ITEMS 1a

CHARGE $28. 92

Te} 831-458-9600
Fax 831-458-3414
THANK YOU

 

428 FRONT ST D
SANTA CRUZ, CA. 95060.
831-458-9600

SALE

REF#: 00000001

143:31
APPR CODE: 07662P

. Frace: 4
. MASTRE ser

Chip

BVA eucsyd wok pied
SS }

$28.92

APPROVED

-: MasterCard

AID: AGoORANN4 1010
TVR 80 2) 0 8000 gon,

: TSk 68 00

"THANK You
